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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       Case No. 1:21-cr-225 (DLF)
       v.                                    :
                                             :
TRENISS JEWELL EVANS III,                    :
                                             :
                  Defendant.                 :

           GOVERNMENT’S SUPPLEMENTAL SENTENCING MEMORANDUM

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits the following Supplemental Sentencing

Memorandum to apprise the Court of certain information provided by the defendant regarding

other individuals, should the Court deem it relevant for purposes of sentencing.

       1.         Evans provided information about a named subject who, according to Evans,

requested Evans’s assistance on or about January 5, 2021, in procuring ammunition for an attempt

to take over the Michigan State Capitol. The named subject had previously been identified in

media and court documents in relation to alleged criminal conduct predating January 6, 2021. Law

enforcement officials investigated the lead that Evans provided but were unable to substantiate it.

       2.         Evans provided information about other rioters who purportedly made comments

regarding a laptop computer stolen from Speaker Nancy Pelosi’s office during the attack of

January 6, 2021. These leads were of limited utility and did not substantially advance any

investigation.1




       1
            The government no longer maintains that this supplemental sentencing
memorandum should be filed under seal.
                                                    1
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May 20, 2022                 Respectfully submitted,

                             MATTHEW M. GRAVES
                             UNITED STATES ATTORNEY
                             D.C. Bar No. 481052

                       By:   /s/ Francesco Valentini
                             Francesco Valentini
                             D.C. Bar No. 986769
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                               CERTIFICATE OF SERVICE

       I certify that, on May 20, 2022, an electronic copy of the foregoing was served on counsel

for the defendant through the Court’s ECF system.


May 20, 2022                                /s/ Francesco Valentini
                                            Francesco Valentini
